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 8                                 UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                    No. 1:11-cr-0449 AWI
12                    Plaintiff,                  ORDER DIRECTING DEFENDANT’S
                                                  ATTORNEY, ARTURO HERNANDEZ, TO
13         v.                                     SHOW CAUSE FOR FAILURE TO
                                                  APPEAR
14   DESIDORO SANCHEZ SOLORZANO,
15                    Defendant.
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17         On June 24, 2013, a status conference in the above captioned case was

18   scheduled to be held in Courtroom 2 of the District Court in Fresno, California.

19   Defendant’s attorney, Arturo Hernandez, was not present and no other attorney was

20   identified as having been asked by Mr. Hernandez to appear on his behalf. The court

21   has not received any information regarding the reason for Mr. Hernandez’s absence.

22   An attorney may be sanctioned under the court’s inherent power if the conduct is found

23   to be in bad faith. A finding of bad faith may be appropriate when, among other things,

24   an attorney engages in behavior that has the effect of delaying or disrupting the

25   litigation. See, Mendez v. County of San Bernardino, 540 F.3d 1109, 1131-1132 (9th

26   Cir. 2008). In this case, defendant is in custody, and the status conference was a critical

27   stage of the proceedings.

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     Case 1:11-cr-00449-DAD-BAM Document 112 Filed 06/26/13 Page 2 of 2


1                            THEREFORE, it is hereby ORDERED that Arturo Hernandez be personally

2    present at the further status conference scheduled for this case to be held on Monday,

3    July 8, 2013, at 10:00 a.m. in Courtroom 2 to address the reason for his absence and to

4    address such other matters as may pertain to this case.

5                            IT IS FURTHER ORDERED that Arturo Hernandez submit, in writing, by July 2,

6    2013, any explanation for the reason, if any, for his absence from court on June 24,

7    2013.

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     IT IS SO ORDERED.
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11   Dated: June 26, 2013
     DEAC _Signature- END:
                                                           SENIOR DISTRICT JUDGE
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